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                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

                                                   §
   JENNIFER M. SCOTT                               §
                                                   §   Civil Action No. 4:19-CV-440
   v.                                              §   (Judge Mazzant/Judge Nowak)
                                                   §
   COMMISSIONER, SSA                               §

                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On August 27, 2020, the report of the Magistrate Judge was entered (Dkt. #14) containing proposed

  findings of fact and recommendations that the final decision of the Commissioner be remanded.

          Having received the report of the Magistrate Judge, and no objections thereto having been

  timely filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

. are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

          It is therefore ORDERED that the decision of the Commissioner is hereby REMANDED

  for further review.

          IT IS SO ORDERED.
           SIGNED this 11th day of September, 2020.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
